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                                                               UNITED STATES BANKRUPTCY COURT
                             15
                                                               NORTHERN DISTRICT OF CALIFORNIA
                             16
                                                                      SAN FRANCISCO DIVISION
                             17

                             18                                               Bankruptcy Case No. 19-30088 (DM)
                                                                              Chapter 11
                             19     In re:                                    (Lead Case) (Jointly Administered)

                             20     PG&E CORPORATION,                         NOTICE OF CONTINUED HEARING ON
                                                                              APPLICATION OF DEBTORS PURSUANT TO
                             21              - and -                          11 U.S.C. §§ 327(a) AND 328(a) AND FED. R.
                                                                              BANKR. P. 2014(a) AND 2016 FOR AUTHORITY
                             22     PACIFIC GAS AND ELECTRIC                  TO RETAIN AND EMPLOY LAZARD FRÈRES
                                    COMPANY,                                  & CO. LLC AS INVESTMENT BANKER TO THE
                             23                                               DEBTORS EFFECTIVE AS OF THE PETITION
                                                                   Debtors.   DATE
                             24                                               [Re: Dkt No. 891]
                                     Affects PG&E Corporation
                             25      Affects Pacific Gas and Electric        Date: May 22, 2019
                                    Company                                   Time: 9:30 a.m. (Pacific Time)
                             26      Affects both Debtors                    Place: United States Bankruptcy Court
                                                                                     Courtroom 17, 16th Floor
                             27     * All papers shall be filed in the Lead          San Francisco, CA 94102
                                    Case, No. 19-30088 (DM).
                             28                                               Objection Deadline: May 15, 2019
                                                                                                  4:00 p.m. (Pacific Time)

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             PLEASE TAKE NOTICE that on January 29, 2019 (the “Petition Date”), PG&E
 1   Corporation (“PG&E Corp.”) and Pacific Gas and Electric Company (the “Utility”), as debtors and
 2   debtors in possession (the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11
     Cases”), each filed a voluntary petition for relief under chapter 11 of title 11 of the United States
 3   Code (the “Bankruptcy Code”) with the United States Bankruptcy Court for the Northern District
     of California (San Francisco Division) (the “Bankruptcy Court”).
 4
             PLEASE TAKE FURTHER NOTICE that on March 14, 2019, the Debtors filed the
 5   Application of Debtors Pursuant to 11 U.S.C. §§ 327(a) and 328(a) and Fed. R. Bankr. P. 2014(a)
 6   and 2016 for Authority to Retain and Employ Lazard Frères & Co. LLC as Investment Banker to the
     Debtors Effective as of the Petition Date [Dkt No. 891] (the “Lazard Application”). Concurrently
 7   with the Lazard Application, the Debtors filed a notice of hearing [Dkt No. 896], which stated that:
     (1) any oppositions or responses to the Lazard Application must be in writing, filed with the
 8   Bankruptcy Court, and served on the counsel for the Debtors at the above-referenced addresses so as
     to be received by no later than 4:00 p.m. (Pacific Time) on April 2, 2019; (2) all oppositions and
 9
     responses must be filed and served pursuant to the Order Implementing Certain Notice and Case
10   Management Procedures (as amended, the “Case Management Order”) [Dkt No. 759] entered on
     March 6, 2019, which was amended on March 27, 2019 [Dkt. No. 1093]; and (3) any oppositions or
11   responses must be served on all “Standard Parties” as defined in paragraph 5 of the Case
     Management Order.
12
             PLEASE TAKE FURTHER NOTICE that the hearing on the Lazard Application was
13
     previously continued from its original hearing date of April 9, 2019, to the omnibus hearing on April
14   24, 2019, at 9:30 a.m. (Pacific Time). The deadline for parties to file responses or oppositions to the
     Lazard Application was extended to 4:00 p.m. (Pacific Time) on April 17, 2019. The hearing on the
15   Lazard Application was then further continued to the omnibus hearing on May 9, 2019, at 9:30 a.m.
     (Pacific Time). The deadline for parties to file responses or oppositions to the Lazard Application
16   was further extended to 4:00 p.m. (Pacific Time) on May 2, 2019.
17
             PLEASE TAKE FURTHER NOTICE that the hearing on the Lazard Application will be
18   continued from its hearing date of May 9, 2019, to the omnibus hearing on May 22, 2019, at
     9:30 a.m. (Pacific Time) in the courtroom of the Honorable Dennis Montali, United States
19   Bankruptcy Judge, Courtroom 17, 16th Floor, 450 Golden Gate Avenue, San Francisco, California
     94102. The deadline for parties to file responses or oppositions to the Lazard Application is
20   extended to 4:00 p.m. (Pacific Time) on May 15, 2019. All oppositions and responses must be
21   filed and served pursuant to the Case Management Order.

22            PLEASE TAKE FURTHER NOTICE that copies of each pleading identified herein can be
     viewed and/or obtained: (i) by accessing the Court’s website at http://www.canb.uscourts.gov, (ii) by
23   contacting the Office of the Clerk of the Court at 450 Golden Gate Avenue, San Francisco, CA
     94102, or (iii) from the Debtors’ notice and claims agent, Prime Clerk LLC, at
24   https://restructuring.primeclerk.com/pge or by calling (844) 339-4217 (toll free) for U.S.-based
25   parties; or +1 (929) 333-8977 for International parties or by e-mail at: pgeinfo@primeclerk.com.
     Note that a PACER password is needed to access documents on the Bankruptcy Court’s website.
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                                                3
     Dated: May 1, 2019
 1
                                      WEIL, GOTSHAL & MANGES LLP
 2                                    KELLER & BENVENUTTI LLP
 3
                                       /s/ Thomas B. Rupp
 4                                                Thomas B. Rupp
 5                                     Attorneys for Debtors and Debtors in Possession
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